    Case: 1:05-cr-00158-RWS Doc. #: 84 Filed: 06/15/20 Page: 1 of 6 PageID #: 428
                                            RECEIVED
                                            BY MAIL
Terrance Fields #07522-010                   JUN 'i 5 2020
FCC Forrest City-I.aw                          U.S. DISTRICT COURT
P.O.Box 9000                                 EASTERN DISTRICT OF MO
Forrest City, Arkansas          72336            CAPE GIRARDEAU

                                                            June 10, 2020

aJAMBERS OF THE. HONCJRABI...E
Judge Rodney W. Sippel
555 Independance St.
Cape GirardP..au, Missouri         63703'


RE: U.S.A. v. Terrance Fields, N0. 1:05CR00158-RWS, Request for C.01.Illsel and for
     OJmpa.ssionate Release Reduction in Sentence.

l;)ear Judge   Sippel:
        '!he purpose of this letter is to seek the Appointment of {bunsel and A
Cootpassiona.te Reduction in my sentence in .light of the National Emergency
wit..li. t..'1.e Covid-19 outbreak, and my serious. medical condition.
/ · .\· .. I do not·"kl}ow 1}ow:·to,~per£ectly·. file motions so I ask for· O>unsel to
do :so.-·:-m ~port·,:of relie.f•cand th¢ Appojntment-::o:e- C01JI)S~L:~o!'.:assist:·me'.:,T·.::r?,:~·-::,;·r,
can. show:: the -court the·"following'; ' ,_. >: ::· :, ,. ·. ,:,: .: .:.~• ,, -': ,, , · :- :·.. ·,: (· ::,, ·'
        L       I filed·. a inmate ·Request· to Staff on Ap:dl 30,: 2020, through the
prison mailing system to the• Warden· at FCC Forrest City, DeWayne Hendrix.
See funa.te Request Attached page 1. -To this date the War.den has not responded.
        Notwithstandin~ the Warden's .·failure ·to respond, Warden Hendrix.issued
a memo iri..structing iilmates to· Nor file request· and every inmate was being
<;,<>nsidererl for home detention on April 14, 2020.
      2.    I have been diagnosed, with a. highly contagious respiratory infection
called Tuberculosis~
      I have noticed that my medical issue in conjunction with the covid-19
disease makes me a hig..1-i. risk· prisoner, that Ii.as SLtpported granting relief -
by trhe Court in UNlTJ.ID STATFS,V. ATWI, ease No. 18-20607, 2020 u.s.Dist.uro:s
~8282 (E.D.MichiganApril 20, 2020).
        3.      l.   ~oyer the age _of. 60 yeari:; old and I have ,canpleted over..- 70%
 of. my -~ent¢nee.·- Tn this prison·•;.)l am housed in a do:an with over 156 inmates,
·wi:th~:only 6:,urirtals;. 'a'.,t:owlets',' arid 12:::s}:lowers:::and onlytJ'.,-of ,them.:-~e,,1~rational.



                                             page 1 of 2
      Case: 1:05-cr-00158-RWS Doc. #: 84 Filed: 06/15/20 Page: 2 of 6 PageID #: 429



       '!he Covtd-19 outbreaks at this prison is in the top 3 in the entire
&lreau of Prisons. I cannot protect my self or defend from contracting the
v.LT'IJS, and t..lie Prisons cannot control the spread. Just recently following
~ mass testing. A CDvi.d-19 negative Unit became infected. See Attached pages
2-3.
        4.  I am a elderly prisoner, and the Covid-19 pendemic has paralyzed
the entire world, speading exponetially shutting down schools, jobs, professional
sport seasons, and life was it was known. It may ltlll 200,00 people and infect
millions more. At this point there is no approved cure, or vaccine to prevent
it.
        People with preexisting medical condictions like me face a high risk
of dying or suffereL11g severe he.=tl.th-;,-effects should I contract the disease.

       In Closing Honorable Judge Sippel, I am reoorseful for the crimes I
conmitted and pray that this Court would have COOipaSsion under these circunstances
and GRAN!' me some relief, and reduce my sentence to home incarceration to
be follow·ed. by Supervise release like the A~ court or t,\.ppoint Counsel to
give me the relief this Cburt deems proper under law.


                                                      Sincerely,
                                                      Te..rr~.nce Fields #07522-010




cc;File
          Case: 1:05-cr-00158-RWS Doc. #: 84 Filed: 06/15/20 Page: 3 of 6 PageID #: 430


 BP-S14.8 ..·0SS INMATE REQUEST TO STAFF                              CDFRM·
 SE!? 98·
 U.S. DEPAR'I'b:IENT OF JUSTICE                                                                                 FEDERAL BUREAU- -.O~RISONS


                                                  H:::.:.:                                                                                          '"}"'•••

  TO: (Name and Title of Staff Member}                                       DATE:
    Dewayne Hendrix, Warden                  --                                                   April 30, 2020                                   -·--
  FROM:                                                                      REGISTER NO. :
            Terrance Fields                                                                                         07522-010
  WORK ASSIGNMENT:                                                           UNIT:
                   MB-orderly                                                                                 M-B
                                                                ...
 SUBJECT: (Briefly state your question or concern and the solution you are requesting. Continue
 on back, if necessa~y. Your failure to be specific may result in no action being taken. If
 necessary, you will be interviewed in order to successfully ~espond to your request.)
 I would like for you to petition my Sentencing Court for a Compassionate ..:Releases or a
 requction in my sentence. My situation presents both a compelling and extraordinary
 circmistance to wit..11.: In light of the Covid:-19 outbreak in t.'tiis institution and the Na_tional
 He~lth ~ency; in addition to the fact that I have been exposed to Tuberculosis, Mtlch ·
 a ~erious ~cal condition, arrl I am over 60 years of age and completed over 70% of my
 sentence. I am incarcerated on a non-violent off'e.'lSe, and                                                  living in a do:rm at this prison
 I cannot protect or defend myself against exposure to                                            the disease.
 I ~ve a home plan and possible job in my fi~e and in case J: am released. I will provide
                                                                                                               '\
 the additional i..Tifomation if or when I am interviewed.
                                                             'lhank you for your consideration and hope to hear from
                                                             you soon!
                                                '
                                       (Do not write below this line)                                                                                                 if

 OI~POSITION:                                                                                                         ~.   ..                                                  I
                                                                                                                                                                               I




             Signature Staff Member
                                                                         I   Date


Record Copy~ File; Copy - Inmate                                          This form replaces BP-148.070 dated Oct 88
{This form may be replicated via·we)                                      and BP-S148,070 APR 94            .

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                                                  U.S. Department of Justice
                                                  Federal Bureau of Prisons

                                                  Federal Correctional Complex



                                                 May 29, 2020


 MEMORANDUM FOR ."ALL LOW COMPONENT INMATES


 FROM:             De~~~lt~~ex                   Warden


 SUBJECT:          Update: Asymptomatic Inmate COVID-19 Testing


 Thanks for your continued patience and cooperation as we manage
 the COVID-19 pandemic.

Asymptomatic Inmate COVID-19 Testing

As each of you are aware the following pods have been designated
as asymptomatic positive and asymptomatic negative pods after
the Center for Disease Control and Prevention (CDC) and our
facility conducted mass asymptomatic COVID-19 testing for
inmates from May 12-15, 2020.

Asymptomatic Positive Pods

Wynne Alpha~ Wynne Bravo, and Wynne Delta

Asymptomatic Negative Pods

iHelena Alpha, Helena Bravo, Helena Charlie, Helena Delta,
 Marianna Alpha, Marianna Bravo, and Marianna Charlie.

  Yesterday an inmate from Wynne Charlie became symptomatic and
  was tested for COVID-19.  As a result this morning the health
  services staff conducted cluster testing of inmates in Wynne
  Charlie that were housed near that inmate and out of the eleven
  tested, seven tested positive.  The positive inmates will be
  housed in Vo-Tech, and the negative inmates will be housed in
1
  the Visiting Room.
Case: 1:05-cr-00158-RWS Doc. #: 84 Filed: 06/15/20 Page: 5 of 6 PageID #: 432
                                      BOP Coronavirus (COVID-19) Update
                                                           May 11, 2020
                                                                 Page 2


As a result of the high rate of inmates who tested positive this
morning, we will re-test the remainder of Wynne Charlie through
an outside lab. The specimens will be collected today, and
Wynne Charlie will now be designated as an isolation pod until
we receive the results of all inmates.

Additionally, earlier this morning an inmate from Marianna Alpha
pod became symp,tomafic and was tested positive for COVID-19. The
positive inmate will be housed in Vo-Tech.

As a result we will re-test the remainder·of Marianna Alpha
through an outside lab. The specimens will be collected'Monday,
June 1, 2020, and Marianna Alpha will now be designated as an
isolation pod until we receive the results of all inmates.

I want to also reiterate the importance of wearing the face
coverings issued to you. As we continue mitigate the spread of
COVID-19, we will take the necessary administrative measures
when any inmate are not adhering to these requirements.

As I stated in my memorandum to each of you on May 18, 2020, we
will continue to conduct enhanced medical screenings daily to
include temperature checks and any inmate who becomes
symptomatic will be taken off the units, tested and placed in
the appropriate isolation area pending the final results of
their test.

Again, I realize this is a challenging situation, which is not
optimal and/or perfect. However, the ultimate objective is to
minimize the opportunity for COVID-19 exposure and infection
within our facility. I appreciate each of your perseverance.

Together we will get through this!
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